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PS 8
(5/05)

                             UNITED STATES DISTRICT COURT
                                         for the
                              DISTRICT OF MASSACHUSETTS

United States of America

              vs.

Jorge Salcedo                              Docket No. 1:19CR10081

              PETITION FOR ACTION ON CONDITIONS OF PRETRIAL RELEASE


The undersigned Pretrial Services Officer presents this report regarding defendant Jorge Salcedo,
who was placed under pretrial release supervision by the Honorable M. Page Kelley, on
3/25/2019 under the following conditions, including a $50,000 unsecured bond:

         1. Submit to supervision by and report for supervision to Pretrial Services as directed.
         2. Continue or actively seek employment.
         3. Surrender any passport to The Office of Probation and Pretrial Services.
         4. Not obtain a passport or other international travel document.
         5. Travel is restricted to the United States. Travel away from home is permitted with
            advance notice as required by the pretrial office.
         6. Avoid all contact, directly or indirectly, with any person who is or may be a victim or
            witness in the investigation or prosecution, including co-defendants (except in the
            presence of counsel)
         7. Report as soon as possible, to pretrial services office or supervising officer, every contact
            with law enforcement personnel, including arrests, questioning, or traffic stops.
         8. Maintain residence and do not move without prior permission.

                    And respectfully seeks action by the Court and for cause as follows:


On March 12, 2020, this undersigned officer received information from Mr. Salcedo’s pretrial
services officer in the Eastern District of California, Taifa Gaskins, that he had expressed interest
in traveling to Mexico City on March 18, 2020 to March 21, 2020 for business purposes. Prior to
this request, Mr. Salcedo had not reported employment to Ms. Gaskins or this officer. He
indicated he had been working since October 2019 as a consultant and was being paid to his
wife’s bank account. He was unable to provide the last name of his employer. He was instructed
to supply employment information to Ms. Gaskins. This officer indicated that probation would
oppose this sudden request for travel to Mexico due to a lack of information regarding Mr.
Salcedo’s employment. On March 16, 2020, this officer spoke to Mr. Salcedo’s counsel and
informed him of this opposition. He indicated the motion was moot due to COVID-19.
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On June 2, 2020, this undersigned officer was informed that Mr. Salcedo was being queried by
Customs and Border Patrol in Texas. This officer requested that Ms. Gaskins make contact with
him to determine if he was having contact with law enforcement. Mr. Salcedo confirmed that he
was in Texas and had traveled to Reynosa, Mexico for a two-and-a-half-hour business meeting.
He confirmed he had contact with CBP. Mr. Salcedo had not requested to travel to Texas or
Mexico. Mr. Salcedo indicated he crossed the border in McAllen, Texas because he was told he
could walk across without a passport. Until this date, Mr. Salcedo had failed to provide Ms.
Gaskins with requested information regarding his employment. He denied having a contract with
his employer. On this date, Mr. Salcedo provided Ms. Gaskins with his flight itinerary to and
from Texas, an email dated March 26, 2020 with commission information, and the web address
for Series3 Medical Systems.

On June 3, 2020, this undersigned officer made contact with Mr. Salcedo. He reported he had
been in Texas since Sunday night with his partners. He indicated he was a partner in a company
named Series3 Medical. He indicated the company initially started as Series3, which assisted
businesses with expanding and monetizing data. He stated it has now morphed into Series3
Medical and they are working with suppliers in China to secure PPE for hospital staff and other
frontline workers. He stated they traveled to McAllen, Texas and Mexico to meet with a
company regarding PPE. He claimed to be unaware of this officer’s prior denial of travel to
Mexico. He claimed that he thought by signing his plea agreement he was no longer bound to his
conditions of release.

On June 3, 2020, Mr. Salcedo provided information dated October 15, 2019 regarding Series3.
Mr. Salcedo also provided an IRS document dated April 3, 2020, providing his business partner
with an employer identification number for Series3 Medical Systems LLC. Finally, he supplied a
letter from the CEO of the business in Texas that indicated he had invited Mr. Salcedo and his
business partner to McAllen, Texas. The purpose of this meeting was to discuss opportunities to
provide services and PPE to health care providers. The CEO identified deep ties with Mexico
and stated they were an important business stakeholder.

One June 4, 2020, Ms. Gaskins requested Mr. Salcedo supply a contract or agreement with his
business partner. He was also instructed to supply documentation evidencing the payments he
has received since October 2019 from Series3.

On June 5, 2020, this officer requested the contract and payment documents from Mr. Salcedo.
Mr. Salcedo indicated the only documentation that he had was the information previously
provided on June 3, 2020. He agreed to request and supply a contract from this employer to
probation. He agreed to provide further documentation regarding employment payments as a
means to verify. He denied having any additional verification that confirmed it was necessary for
him to travel to Mexico. He indicated they met with a contact of the company in McAllen, Texas
in Mexico.

Mr. Salcedo has violated condition 5 of his conditions of release by traveling to Texas and
Mexico. Probation is seeking to notify Your Honor of the violation conduct in advance of his
Rule 11 hearing scheduled before Your Honor on June 10, 2020 at 11 AM.
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Petition for Action on Conditions of Pretrial Release


PRAYING THE COURT WILL:
☐    Issue a Warrant
☐    Issue a Summons for the defendant to appear for a show cause hearing
☒    Other: Violation be addressed at the Rule 11 hearing June 10, 2020


I declare under the penalty of perjury that the foregoing is true and correct.
  Executed on: 6/5/2020                         Place: Taunton, Massachusetts


                                                Date: 6/5/2020
  Jessica Turkington
  U.S. Probation Officer


                                       ORDER OF COURT

                               ☐       Warrant to Issue
                               ☐       Summons to issue. Clerk to schedule show cause hearing.
                               ☐       No Action
                               ☐       Other: Violation be addressed at the Rule 11 hearing June
                                       10, 2020




Considered and ordered this                  day of                     ,20      ,and ordered filed
and made part of the record in the above case.



                               ___________________________________________
                               The Honorable Indira Talwani
                               U.S. District Judge
